                abendreier

POST PETITION PAYMENT HISTORY
TRANSACTION         AMOUNT          AMOUNT           PAYMENT         TRANSACTION   Amount Recieved          TO/FROM          SUSPENSE
DATE                RECEIVED        DUE              APPLIED TO      DESCRIPTION   Minus Amount due         SUSPENSE         BALANCE
                                                                     BK Filed
                                                                     11/8/2016     $                 -      $         -      $            -
        1/19/2017   $   1,250.00    $     1,222.88       12/1/2016                 $               27.12    $       27.12    $          27.12
         3/3/2017   $   1,245.00    $     1,222.88        1/1/2017                 $               22.12    $       22.12    $          49.24
        5/15/2017   $   1,245.00    $     1,222.88        2/1/2017                 $               22.12    $       22.12    $          71.36
        5/15/2017   $   1,245.00    $     1,222.88        3/1/2017                 $               22.12    $       22.12    $          93.48
        5/23/2017   $   1,245.00    $     1,222.88        4/1/2017                 $               22.12    $       22.12    $         115.60
         6/6/2017   $   1,230.00    $     1,222.88        5/1/2017                 $                7.12    $        7.12    $         122.72
        7/14/2017   $   1,230.00    $     1,222.88        6/1/2017                 $                7.12    $        7.12    $         129.84
        9/13/2017   $   1,250.00    $     1,222.88        7/1/2017                 $               27.12    $       27.12    $         156.96
        11/2/2017   $   1,260.00    $     1,222.88        8/1/2017                 $               37.12    $       37.12    $         194.08
       12/29/2017   $   1,260.00    $     1,222.88        9/1/2017                 $               37.12    $       37.12    $         231.20
         3/5/2018   $   1,275.00    $     1,222.88       10/1/2017                 $               52.12    $       52.12    $         283.32
         5/9/2018   $   1,275.00    $     1,222.88       11/1/2017                 $               52.12    $       52.12    $         335.44
        8/16/2018   $   1,250.00    $     1,222.88       12/1/2017                 $               27.12    $       27.12    $         362.56
       10/26/2018   $    (181.00)                                                  $             (181.00)   $     (181.00)   $         181.56

                                                                   Payment Applied
       10/26/2018                   $          -          1/1/2018 From Suspense   $                  -     $          -     $         181.56

                                                                   Payment Applied
       10/26/2018                   $          -          2/1/2018 From Suspense   $                  -     $          -     $         181.56

                                                                   Payment Applied
       10/26/2018                   $          -          3/1/2018 From Suspense   $                  -     $          -     $         181.56

                                                                   Payment Applied
       10/26/2018                   $          -          4/1/2018 From Suspense   $                  -     $          -     $         181.56



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                                                     Payment Applied
10/26/2018                  $        -      5/1/2018 From Suspense   $           -      $        -      $    181.56

                                                     Payment Applied
10/26/2018                  $        -      6/1/2018 From Suspense   $           -      $        -      $    181.56

                                                     Payment Applied
10/26/2018                  $        -      7/1/2018 From Suspense   $           -      $        -      $    181.56

                                                     Payment Applied
10/26/2018                  $        -      8/1/2018 From Suspense   $           -      $        -      $    181.56

                                                     Payment Applied
10/26/2018                  $        -      9/1/2018 From Suspense   $           -      $        -      $    181.56

                                                     Payment Applied
10/26/2018                  $        -     10/1/2018 From Suspense   $           -      $        -      $     181.56
 11/7/2018   $   1,275.00   $   1,261.94   11/1/2018                 $         13.06    $      13.06    $     194.62
12/12/2018   $   1,275.00   $   1,261.94   12/1/2018                 $         13.06    $      13.06    $     207.68
 1/24/2019   $   1,250.00   $   1,261.94    1/1/2019                 $        (11.94)   $     (11.94)   $     195.74
 3/13/2019   $   1,250.00   $   1,229.15    2/1/2019                 $         20.85    $      20.85    $     216.59
 4/10/2019   $   1,250.00   $   1,229.15    3/1/2019                 $         20.85    $      20.85    $     237.44
  6/6/2019   $   1,275.00   $   1,229.15    4/1/2019                 $         45.85    $      45.85    $     283.29
  8/1/2019   $   1,266.00   $   1,229.15    5/1/2019                 $         36.85    $      36.85    $     320.14
 9/25/2019   $   1,265.00   $   1,229.15    6/1/2019                 $         35.85    $      35.85    $     355.99
11/14/2019   $   1,265.00   $   1,229.15    7/1/2019                 $         35.85    $      35.85    $     391.84
 12/5/2019   $   1,235.00   $   1,229.15    8/1/2019                 $          5.85    $       5.85    $     397.69
 1/10/2020   $   1,250.00   $   1,229.15    9/1/2019                 $         20.85    $      20.85    $     418.54
 1/16/2020   $   2,800.00   $   1,229.15   10/1/2019                 $      1,570.85    $   1,570.85    $   1,989.39

                                                     Payment Applied
 1/16/2020               $      1,229.15   11/1/2019 From Suspense   $      (1,229.15) $    (1,229.15) $     760.24
  2/6/2020 $      800.00 $      1,229.15   12/1/2019                 $        (429.15) $      (429.15) $     331.09



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         3/11/2020    $    1,245.00      $    1,230.02            1/1/2020             $             14.98    $       14.98    $     346.07
         4/13/2020    $      800.00                                                    $            800.00    $      800.00    $   1,146.07
         5/14/2020    $    1,245.00      $    1,230.02            2/1/2020             $             14.98    $       14.98    $   1,161.05
          7/2/2020    $       75.00      $    1,230.02            3/1/2020             $         (1,155.02)   $   (1,155.02)   $       6.03
          7/7/2020    $    1,275.00      $    1,230.02            4/1/2020             $             44.98    $       44.98    $      51.01
         9/11/2020    $    1,000.00                                                    $          1,000.00    $    1,000.00    $   1,051.01
        10/15/2020    $    1,245.00      $    1,230.02            5/1/2020             $             14.98    $       14.98    $   1,065.99
         12/4/2020    $    1,250.00      $    1,230.02            6/1/2020             $             19.98    $       19.98    $   1,085.97
         1/14/2021    $    1,245.00      $    1,230.02            7/1/2020             $             14.98    $       14.98    $   1,100.95
         2/16/2021    $    1,245.00      $    1,230.02            8/1/2020             $             14.98    $       14.98    $   1,115.93
         3/15/2021    $    1,245.00      $    1,230.02            9/1/2020             $             14.98    $       14.98    $   1,130.91
         4/14/2021    $    1,245.00      $    1,230.02           10/1/2020             $             14.98    $       14.98    $   1,145.89
         5/13/2021    $      500.00      $    1,230.02           11/1/2020             $           (730.02)   $     (730.02)   $     415.87
         6/10/2021    $    1,250.00      $    1,230.02           12/1/2020             $             19.98    $       19.98    $     435.85
         7/27/2021    $    1,275.00      $    1,243.64            1/1/2021             $             31.36    $       31.36    $     467.21
         8/25/2021    $    1,275.00      $    1,243.64            2/1/2021             $             31.36    $       31.36    $     498.57
         9/29/2021    $    1,250.00      $    1,243.64            3/1/2021             $              6.36    $        6.36    $     504.93
         11/3/2021    $    1,300.00      $    1,243.64            4/1/2021             $             56.36    $       56.36    $     561.29
         12/1/2021    $    1,300.00      $    1,243.64            5/1/2021             $             56.36    $       56.36    $     617.65
        12/15/2021    $    1,300.00      $    1,243.64            6/1/2021             $             56.36    $       56.36    $     674.01
         1/12/2022    $    1,300.00      $    1,243.64            7/1/2021             $             56.36    $       56.36    $     730.37
          2/2/2022    $    1,300.00      $    1,243.64            8/1/2021             $             56.36    $       56.36    $     786.73

Delinquent Payments                      Days Delinquent:                  129
Month Due             P&I Due            Escrow Due         Total Due
           9/1/2021   $         727.06   $      516.58      $     1,243.64
          10/1/2021   $         727.06   $      516.58      $     1,243.64
          11/1/2021   $         727.06   $      516.58      $     1,243.64
          12/1/2021   $         727.06   $      560.13      $     1,287.19
           1/1/2022   $         727.06   $      560.13      $     1,287.19
           2/1/2022   $         727.06   $      560.13      $     1,287.19
Delinquency                                                 $      7,592.49
Less Suspense                                               $           786.73
Total Delinqunecy                                           $      6,805.76




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